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 6 Attorneys for Defendant
   CLARENCE ANDREWS
 7
                                    UNITED STATES DISTRICT COURT
 8
                                   NORTHERN DISTRICT OF CALIFORNIA
 9
                                            OAKLAND DIVISION
10

11   UNITED STATES OF AMERICA,                       ) CASE NO. 4:14-CR-94 YGR
                                                     )
12           Plaintiff,                              ) STIPULATION AND [PROPOSED] ORDER RE:
                                                     ) BRIEFING SCHEDULE
13      v.                                           )
                                                     )
14   CLARENCE ANDREWS,                               )
                                                     )
15           Defendant.                              )
                                                     )
16

17           The United States and defendant Clarence Lee Andrews, by and through undersigned counsel,

18 hereby respectfully request that that the Court order that Mr. Andrews’ reply to the United States’
19
     Memorandum in Opposition (Dkt. 86) to Mr. Andrews’ motion for compassionate release (Dkt. 81) be
20
     filed by February 12, 2021.
21
             IT IS SO STIPULATED.
22
     Dated: February 9, 2021                                    /s/                 ______
23                                                       ASHLEY RISER
                                                         Attorney for Defendant CLARENCE ANDREWS
24

25 Dated: February 9, 2021                                      /s/
                                                         SARAH GRISWOLD
26                                                       Assistant United States Attorney
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28 STIP. & [PROP’D] ORDER RE: BRIEFING SCHED.
     4:14-CR-94 YGR

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 1                                         [PROPOSED] ORDER

 2          Based upon the representation of counsel and for good cause shown, IT IS HEREBY ORDERED
 3 that Mr. Andrews’ reply to the United States’ response motion in opposition (Dkt. 86) to Mr. Andrews’

 4 motion for compassionate release (Dkt. 81) shall be filed by February 12, 2021.

 5
            IT SO ORDERED this _____ day of February 2021.
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 7
                                                       __________________________________________
 8                                                     THE HON. YVONNE GONZALEZ ROGERS
                                                       UNITED STATES DISTRICT JUDGE
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28 STIP. & [PROP’D] ORDER RE: BRIEFING SCHED.
     4:14-CR-94 YGR

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